111 F.3d 127
    Dennis Spillmanv.William Wallen, Michael R. Kopac, III, Sacks, Basch, Westonand Sacks, Herbert L. Ocks, Ocks and Barsky Law Office, asSuccessor to Bloom, Ocks, Fisher and Anderson Law Office,Fraternal Order of Police Lodge No. 5, Fraternal Order ofPolice Legal Services Plan
    NO. 96-1662
    United States Court of Appeals,Third Circuit.
    Mar 27, 1997
    
      Appeal From:  E.D.Pa. ,No.9500750 ,
      VanArtsdalen, J.
    
    
      1
      Affirmed.
    
    